    Case 3:10-cr-03209-DMS                  Document 425            Filed 11/21/16           PageID.1119         Page 1 of 4

AO 245B (CASDRev. 08113) Judgment in a Criminal Case for Revocations


                                    UNITED STATES DISTRICT                                  edtlJR¥-D
                                          SOUTHERN DISTRICT OF CALIfmt\           M'\ S: t.O
             UNITED STATES OF AMERICA                                JUDGMENT~~i~,~W_gJ.E
                                                                     (For RevocatiJ'h~ll'll\l\jCdf''lrupervised Release)
                                                                     (For Offenses Committed On or After November 1, 1987)
                               V.                                                                            DeOlY
    GABRIEL ALBERTO REYNOSO-SANCHEZ (9)                                              ~V'
                                                                        Case Numoer:         lOCR3209-DMS

                                                                     Gerald McFadden CJA
                                                                     Defendant's Attorney
REGISTRATION NO.               24974298

o
IZI admitted guilt to violation of allegation(s) No.      _4:::.....-..::8:......._ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

o was found guilty in violation ofallegation(s) No.                                                   after denial of guilty.

Accordingly, the court has adjudicated that the defendant is guilty of the following allegation(s):

Allegation Number                 Nature of Violation
             4,5                  Unlawful use of a controlled substance
              6                   Failure to test and to follow instructions of the probation officer
              7                   Failure to report change in residence, and to following instructions of probation
              8                   Failure to be truthful andlor follow instructions



     Supervised Release is revoked and the defendant is sentenced as provided in page 2 through 4 of this judgment.
The sentence is imposed pursuant to the Sentencing Refonn Act of 1984.
        IT IS ORDERED that the defendant shall notify the United States attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid. If ordered to pay restitution, the defendant shall notify the court and United States attorney of any
material change in the defendant's economic circumstances.

                                                                     November 18. 2016
                                                                     Date ofImposition of Sentence



                                                                     HON. DanaM. Sa raw
                                                                     UNITED STATES DISTRICT JUDGE




                                                                                                                   10CR3209-DMS
     Case 3:10-cr-03209-DMS            Document 425          Filed 11/21/16       PageID.1120        Page 2 of 4
AO 245B (CASD Rev. 08113) Judgment in a Criminal Case for Revocations

DEFENDANT:                GABRIEL ALBERTO REYNOSO-SANCHEZ (9)                                      Judgment - Page 2 of 4
CASE NUMBER:              IOCR3209-DMS

                                                  IMPRISONMENT
 The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of:
  SIX (6) MONTHS.




 o     Sentence imposed pursuant to Title 8 USC Section 1326(b).
 ~     The court makes the following recommendations to the Bureau of Prisons:
       Defendant be designated to the M.C.C. San Diego.




 o     The defendant is remanded to the custody of the United States Marshal.

 o     The defendant shall surrender to the United States Marshal for this district:
       D at _ _ _ _ _ _ _ A.M.                            on ___________________________________

        D    as notified by the United States Marshal.

       The defendant shall surrender for service of sentence at the institution designated by the Bureau of
 D
       Prisons:
        D    on or before
        D    as notified by the United States Marshal.
        D    as notified by the Probation or Pretrial Services Office.

                                                        RETURN

 I have executed this judgment as follows:

       Defendant delivered on   ___________________________ ro

 at _______________________ , with a certified copy of this judgment.


                                                                 UNITED STATES MARSHAL



                                     By                     DEPUTY UNITED STATES MARSHAL



                                                                                                        IOCR3209-DMS
           Case 3:10-cr-03209-DMS                  Document 425               Filed 11/21/16            PageID.1121             Page 3 of 4
    AO 245B (CASD Rev. 08/13) Judgment in a Criminal Case for Revocations

    DEFENDANT:                   GABRIEL ALBERTO REYNOSO-SANCHEZ (9)                                                         Judgment - Page 3 of 4
    CASE NUMBER:                 10CR3209-DMS


                                                        SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:
TWENTY-FOUR (24) MONTHS.



     The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons unless removed from the United States.
The defendant shall not commit another federal, state or local crime.
For offenses committed on or after September 13, 1994:
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substauce. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter as determined by the court. Testing requirements will not exceed submission of more than 4 drug tests per month during the
term of supervision, unless otherwise ordered by court.
          The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of future
          substauce abuse. (Check, if applicable.)
          The defendant shall not possess a fIrearm, ammunition, destructive device, or any other dangerous weapon.
          The defendant shall cooperate in the collection of a DNA sample from the defendant, pursuant to section 3 of the DNA Analysis
          Backlog Elimination Act of2000, pursuant to 18 USC section 3583(a)(7) and 3583(d).
          The defendant shall comply with the requirements of the Sex Offender Registration and NotifIcation Act (42 U.S.C. § 16901, et
o         seq.) as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she
          resides, works, is a student, or was convicted ofa qualifying offense.- (Check if applicable.)
o         The defendant shall participate in an approved program for domestic violence. (Check if applicable.)

        If this judgment imposes a fme or a restitution obligation, it shall be a condition of supervised release that the defendant pay any
    such fIne or restitution that remains unpaid at the commencement of the term of supervised release in accordance with the Schedule of
    Payments set forth in this judgment.
        The defendant shall comply with the standard conditions that have been adopted by this court. The defendant shall also comply with
     any special conditions imposed.
                                        STANDARD CONDITIONS OF SUPERVISION
     1)  the defendant shall not leave the judicial district without the permission of the court or probation officer;
     2)  the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
     3)  the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
     4)  the defendant shall support his or her dependents and meet other family responsibilities;
     5)  the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other acceptable
         reasons;
     6) the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
     7) the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled substance or
         any paraphernalia related to any controlled substances, except as prescribed by a physician;
     8) the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
     9) the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a felony,
         unless granted permission to do so by the probation officer;
     10) the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any contraband
         observed in plain view of the probation officer;
     11) the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
     12) the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the pennission of
         the court; and
     13) as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal record or
         personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the defendant's compliance
          with such notification requirement.



                                                                                                                                   lOCR3209-DMS
     Case 3:10-cr-03209-DMS         Document 425        Filed 11/21/16      PageID.1122        Page 4 of 4

AO 245B (CASD Rev. 08113) Judgment in a Criminal Case for Revocations

DEFENDANT:            GABRIEL ALBERTO REYNOSO-SANCHEZ (9)                                    Judgment - Page 4 of 4
CASE NUMBER:          IOCR3209-DMS

                               SPECIAL CONDITIONS OF SUPERVISION

I.     Submit person, property, residence, office or vehicle to a search, conducted by a United States Probation
       Officer at a reasonable time and in a reasonable manner, based upon reasonable suspicion of contraband
       or evidence of a violation of a condition of release; failure to submit to a search may be grounds for
       revocation; the defendant shall warn any other residents that the premises may be subject to searches
       pursuant to this condition.

2.     Not enter or reside in the Republic of Mexico without written permission of the Court or probation officer.

3.     Report all vehicles owned or operated, or in which you have an interest, to the probation officer.

4.     Provide complete disclosure of personal and business financial records to the probation officer as
       requested.

5.     Be prohibited from opening checking accounts or incurring new credit charges or opening additional lines
       of credit without approval of the probation officer.

6.     Attend Gamblers Anonymous meetings at the discretion of the probation officer.

7.     Participate in a program of drug or alcohol abuse treatment, including urinalysis or sweat patch testing
       and counseling, as directed by the probation officer. Allow for reciprocal release of information between
       the probation officer and the treatment provider. The defendant may be required to contribute to the costs
       of services rendered in an amount to be determined by the probation officer, based on the defendant's
       ability to pay.

8.     Enter and complete a residential drug treatment program as directed by the probation officer.

9.     Reside in a Residential Reentry Center (RRC) as directed by the probation officer for a period of2 months
       (punitive placement).




II




                                                                                                 lOCR3209-DMS
